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                                          May 21, 2021

BY ELECTRONIC FILING

Chief Judge Leonard P. Stark
United States District Court
District of Delaware
844 N. King Street
Wilmington, DE 19801

                  Re:   Crystallex International Corp. v. Bolivarian Republic of Venezuela
                        C.A. No. 17-mc-00151-LPS: Proposed Special Master Order

Dear Chief Judge Stark:

       Pursuant to the Court’s May 11, 2021 order, we write on behalf of the Bolivarian
Republic of Venezuela (the “Republic”) in response to the May 19, 2021 letters to the Court
concerning the proposed special master order. The Republic agrees with the positions taken by
PDV Holding, Inc. and CITGO Petroleum Corporation in their letters dated May 19, 2021 (D.I.
267) and May 21, 2021 (D.I. 269).


                                                           Respectfully

                                                           /s/ A. Thompson Bayliss

                                                           A. Thompson Bayliss (#4379)

ATB/scc

cc:     All Counsel of Record (via electronic mail)




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